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				ORDER VACATING SCAD-2013-11 BAR EXAM ALTERNATIVE SCORING AND GRADING METHODS2016 OK 30Decided: 03/07/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 30, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

RE: ORDER VACATING SCAD-2013-11, BAR EXAM ALTERNATIVE SCORING AND GRADING METHODS
ORDER
The order of April 9, 2013, SCAD-2013-11, implementing a new scoring model which scaled the Oklahoma raw total score to the equated Multistate Bar Exam (MBE) score for the Oklahoma Bar Examination, is hereby vacated effective June 1, 2016. 
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 7th day of March, 2016.
/S/CHIEF JUSTICE
CONCUR: REIF, C.J., COMBS, V.C.J., KAUGER, EDMONDSON, and GURICH, JJ.
DISSENT: WATT, WINCHESTER, TAYLOR (by separate writing), and COLBERT, JJ.

TAYLOR, J., joined by Watt, Winchester, and Colbert, JJ., dissenting:
In a hearing before this Court on December 12, 2015, the Oklahoma Board of Bar Examiners (whose members are appointed by this Court) unanimously recommended that there be no change in the bar examination testing, composition, grading, or scaling. The Bar Examiners reported to this Court that our bar examination process is clearly in line with national standards.
The Deans of all three Oklahoma law schools were present at this hearing, and all three made comments to this Court concerning the bar examination. The consensus was that the Court should await further experience with future bar examinations before taking action, rather than react to the results of one bar examination.
The purpose of the bar examination is to screen applicants in such a way as to protect the public and to protect the reputation of the legal profession. The bar examination should not be easy. It should be a rigorous test of legal knowledge and ability. The fact that there was a greater failure rate on the most recent bar examination is not a reason to change the examination's grading or scaling.
The action taken today by the majority is a mistake. I dissent.





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